Case 2:24-cv-00691-DCJ-TPL           Document 86-2         Filed 11/19/24      Page 1 of 2 PageID #:
                                            7559



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


  STATE OF LOUISIANA, et al.,

                 Plaintiffs,

          v.                                                Case No. 2:24-cv-629-DCJ-TPL

  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION

                 Defendant.


  UNITED STATES CONFERENCE OF
  CATHOLIC BISHOPS; THE SOCIETY OF
  THE ROMAN CATHOLIC CHURCH OF
  THE DIOCESE OF LAKE CHARLES; THE                          Case No. 2:24-cv-691-DCJ-TPL
  SOCIETY OF THE ROMAN CATHOLIC
  CHURCH OF THE DIOCESE OF
  LAFAYETTE; THE CATHOLIC
  UNIVERSITY OF AMERICA,

                     Plaintiffs,

          v.

  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION

                    Defendant.


    ORDER ON UNOPPOSED MOTION OF SMALL BUSINESS MAJORITY, MAIN
  STREET ALLIANCE, AND AMERICAN SUSTAINABLE BUSINESS COUNCIL FOR
                LEAVE TO FILE BRIEF OF AMICI CURIAE

        Considering the motion of Small Business Majority, Main Street Alliance, and American

 Sustainable Business Council (collectively “Proposed Amici”), and considering the representation

 that the State Plaintiffs consent to this motion, the Bishop Plaintiffs do not oppose this motion, and


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Case 2:24-cv-00691-DCJ-TPL          Document 86-2       Filed 11/19/24    Page 2 of 2 PageID #:
                                           7560



 Defendant consents to this motion., it is therefore ordered that the motion is GRANTED.

        The proposed amicus brief shall be filed into the record.



        SO ORDERED at Lake Charles, Louisiana, on this the ____ day of _____________, 2024.



                           ___________________________________

                                        JUDGE
                             UNITED STATES DISTRICT COURT




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